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 5
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       COSTCO WHOLESALE CORPORATION, a Washington
 7     Corporation
 8
 9                              UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
10                                   SOUTHERN DIVISION
11
12     SHARI CIOTTI,                                  CASE NO. 8:21-cv-01392-JVS-KES
13                            Plaintiff,              STIPULATION AND PROTECTIVE
14                                                    ORDER- CONFIDENTIALITY
               vs.                                    AGREEMENT
15
16     COSTCO WHOLESALE
       CORPORATION, A CALIFORNIA
17
       CORPORATION and DOES 1 TO 20,
18     inclusive,
19
                              Defendants,
20
21
22        1.              A. PURPOSES AND LIMITATIONS

23             Discovery in this action is likely to involve production of confidential,

24     proprietary, or private information for which special protection from public

25     disclosure and from use for any purpose other than prosecuting this litigation may be

26     warranted. Accordingly, the parties hereby stipulate to and petition the Court to enter

27     the following Stipulated Protective Order. The parties acknowledge that this Order

28     does not confer blanket protections on all disclosures or responses to discovery and
       ________________________________________________________________________________
                                                  1
       Case No.: 8:21-cv-01392-JVS-KES                STIPULATION AND PROTECTIVE ORDER-
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 1     that the protection it affords from public disclosure and use extends only to the
 2     limited information or items that are entitled to confidential treatment under the
 3     applicable legal principles. The parties further acknowledge, as set forth in Section
 4     12.3, below, that this Stipulated Protective Order does not entitle them to file
 5     confidential information under seal; Civil Local Rule 79-5 sets forth the procedures
 6     that must be followed and the standards that will be applied when a party seeks
 7     permission from the court to file material under seal
 8             B. GOOD CAUSE STATEMENT
 9             This action is likely to involve trade secrets, customer and pricing lists and
10     other valuable research, development, commercial, financial, technical and/or
11     proprietary information for which special protection from public disclosure and from
12     use for any purpose other than prosecution of this action is warranted. Such
13     confidential and proprietary materials and information consist of, among other things,
14     confidential business or financial information, information regarding confidential
15     business practices, or other confidential research, development, or commercial
16     information (including information implicating privacy rights of third parties),
17     information otherwise generally unavailable to the public, or which may be privileged
18     or otherwise protected from disclosure under state or federal statutes, court rules, case
19     decisions, or common law. Accordingly, to expedite the flow of information, to
20     facilitate the prompt resolution of disputes over confidentiality of discovery
21     materials, to adequately protect information the parties are entitled to keep
22     confidential, to ensure that the parties are permitted reasonable necessary uses of such
23     material in preparation for and in the conduct of trial, to address their handling at the
24     end of the litigation, and serve the ends of justice, a protective order for such
25     information is justified in this matter. It is the intent of the parties that information
26     will not be designated as confidential for tactical reasons and that nothing be so
27     designated without a good faith belief that it has been maintained in a confidential,
28     ________________________________________________________________________________
                                                     2
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 1     non-public manner, and there is good cause why it should not be part of the public
 2     record of this case.
 3     2.       DEFINITIONS
 4            2.1     Action: [this pending federal law suit]. [*Option: consolidated or
 5     related actions.]
 6
              2.2     Challenging Party: a Party or Non-Party that challenges the
 7
       designation of information or items under this Order.
 8
              2.3 “CONFIDENTIAL” Information or Items: information (regardless of how
 9
       it is generated, stored or maintained) or tangible things that qualify for protection
10
       under Federal Rule of Civil Procedure 26(c), and as specified above in the Good
11
       Cause Statement.
12
              2.4     Counsel: Outside Counsel of Record and House Counsel (as well as
13
       their support staff).
14
              2.5     Designating Party: a Party or Non-Party that designates information or
15
       items that it produces in disclosures or in responses to discovery as
16
       “CONFIDENTIAL.”
17
              2.6     Disclosure or Discovery Material: all items or information, regardless
18
       of the medium or manner in which it is generated, stored, or maintained (including,
19
       among other things, testimony, transcripts, and tangible things), that are produced or
20
       generated in disclosures or responses to discovery in this matter.
21
              2.7     Expert: a person with specialized knowledge or experience in a matter
22
       pertinent to the litigation who has been retained by a Party or its counsel to serve as
23
       an expert witness or as a consultant in this Action.
24
              2.8     House Counsel: attorneys who are employees of a party to this Action.
25
       House Counsel does not include Outside Counsel of Record or any other outside
26
       counsel.
27
28     ________________________________________________________________________________
                                                    3
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 1            2.9       Non-Party: any natural person, partnership, corporation, association, or
 2     other legal entity not named as a Party to this action.
 3            2.10 Outside Counsel of Record: attorneys who are not employees of a party to
 4     this Action but are retained to represent or advise a party to this Action and have
 5     appeared in this Action on behalf of that party or are affiliated with a law firm which
 6     has appeared on behalf of that party, and includes support staff.
 7            2.11 Party: any party to this Action, including all of its officers, directors,
 8     employees, consultants, retained experts, and Outside Counsel of Record (and their
 9     support staffs).
10            2.12 Producing Party: a Party or Non-Party that produces Disclosure or
11     Discovery Material in this Action.
12            2.13 Professional Vendors: persons or entities that provide litigation support
13     services (e.g., photocopying, videotaping, translating, preparing exhibits or
14     demonstrations, and organizing, storing, or retrieving data in any form or medium)
15     and their employees and subcontractors.
16            2.14 Protected Material: any Disclosure or Discovery Material that is
17     designated as “CONFIDENTIAL.”
18            2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
19     from a Producing Party.
20            3.      SCOPE
21            The protections conferred by this Stipulation and Order cover not only
22     Protected Material (as defined above), but also (1) any information copied or
23     extracted from Protected Material; (2) all copies, excerpts, summaries, or
24     compilations of Protected Material; and (3) any testimony, conversations, or
25     presentations by Parties or their Counsel that might reveal Protected Material.
26            Any use of Protected Material at trial shall be governed by the orders of the
27     trial judge. This Order does not govern the use of Protected Material at trial.
28     ________________________________________________________________________________
                                                    4
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 1           4.       DURATION
 2           Even after final disposition of this litigation, the confidentiality obligations
 3     imposed by this Order shall remain in effect until a Designating Party agrees
 4     otherwise in writing or a court order otherwise directs. Final disposition shall be
 5     deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
 6     or without prejudice; and (2) final judgment herein after the completion and
 7     exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
 8     including the time limits for filing any motions or applications for extension of time
 9     pursuant to applicable law.
10
11             5.1    DESIGNATING PROTECTED MATERIAL
12     5.1     Exercise of Restraint and Care in Designating Material for Protection. Each
13     Party or Non-Party that designates information or items for protection under this
14     Order must take care to limit any such designation to specific material that qualifies
15     under the appropriate standards. The Designating Party must designate for protection
16     only those parts of material, documents, items, or oral or written communications that
17     qualify so that other portions of the material, documents, items, or communications
18     for which protection is not warranted are not swept unjustifiably within the ambit of
19     this Order.
20             Mass, indiscriminate, or routinized designations are prohibited. Designations
21     that are shown to be clearly unjustified or that have been made for an improper
22     purpose (e.g., to unnecessarily encumber the case development process or to impose
23     unnecessary expenses and burdens on other parties) may expose the Designating
24     Party to sanctions.
25             If it comes to a Designating Party’s attention that information or items that it
26     designated for protection do not qualify for protection, that Designating Party must
27     promptly notify all other Parties that it is withdrawing the inapplicable designation.
28     ________________________________________________________________________________
                                                   5
       Case No.: 8:21-cv-01392-JVS-KES                 STIPULATION AND PROTECTIVE ORDER-
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 1            5.2        Manner and Timing of Designations. Except as otherwise provided in
 2     this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
 3     stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
 4     under this Order must be clearly so designated before the material is disclosed or
 5     produced.
 6
              Designation in conformity with this Order requires:
 7
                    (a) for information in documentary form (e.g., paper or electronic
 8
       documents, but excluding transcripts of depositions or other pretrial or trial
 9
       proceedings), that the Producing Party affix at a minimum, the legend
10
       “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
11
       contains protected material. If only a portion or portions of the material on a page
12
       qualifies for protection, the Producing Party also must clearly identify the protected
13
       portion(s)      (e.g.,    by      making   appropriate    markings    in   the   margins)
14
                A Party or Non-Party that makes original documents available for inspection
15
       need not designate them for protection until after the inspecting Party has indicated
16
       which documents it would like copied and produced. During the inspection and
17
       before the designation, all of the material made available for inspection shall be
18
       deemed “CONFIDENTIAL.” After the inspecting Party has identified the documents
19
       it wants copied and produced, the Producing Party must determine which documents,
20
       or portions thereof, qualify for protection under this Order. Then, before producing
21
       the specified documents, the Producing Party must affix the “CONFIDENTIAL
22
       legend” to each page that contains Protected Material. If only a portion or portions of
23
       the material on a page qualifies for protection, the Producing Party also must clearly
24
       identify the protected portion(s) (e.g., by making appropriate markings in the
25
       margins).
26
27
28     ________________________________________________________________________________
                                                      6
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 1                  (b) for testimony given in depositions that the Designating Party identify
 2     the Disclosure or Discovery Material on the record, before the close of the deposition
 3     all protected testimony.
 4                  (c) for information produced in some form other than documentary and for
 5     any other tangible items, that the Producing Party affix in a prominent place on the
 6     exterior of the container or containers in which the information is stored the legend
 7     “CONFIDENTIAL.” If only a portion or portions of the information warrants
 8     protection, the Producing Party, to the extent practicable, shall identify the protected
 9     portion(s).
10            5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent
11     failure to designate qualified information or items does not, standing alone, waive the
12     Designating Party’s right to secure protection under this Order for such material.
13     Upon timely correction of a designation, the Receiving Party must make reasonable
14     efforts to assure that the material is treated in accordance with the provisions of this
15     Order.
16           6.       CHALLENGING CONFIDENTIALITY DESIGNATIONS
17
              6.1 Timing of Challenges. Any Party or Non-Party may challenge a
18
       designation of confidentiality at any time that is consistent with the Court’s
19
20     Scheduling Order.
21
              6.2     Meet and Confer. The Challenging Party shall initiate the dispute
22
       resolution process under Local Rule 37.1 et seq.
23
              6.3     The burden of persuasion in any such challenge proceeding shall be on
24
       the Designating Party. Frivolous challenges, and those made for an improper
25
       purpose (e.g., to harass or impose unnecessary expenses and burdens on other
26
       parties) may expose the Challenging Party to sanctions. Unless the Designating
27
       Party has waived or withdrawn the confidentiality designation, all parties shall
28     ________________________________________________________________________________
                                                   7
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 1     continue to afford the material in question the level of protection to which it is
 2     entitled under the Producing Party’s designation until the Court rules on the
 3     challenge.
 4            7.      ACCESS TO AND USE OF PROTECTED MATERIAL
 5            7.1     Basic Principles. A Receiving Party may use Protected Material that is
 6     disclosed or produced by another Party or by a Non-Party in connection with this
 7     Action only for prosecuting, defending, or attempting to settle this Action. Such
 8     Protected Material may be disclosed only to the categories of persons and under the
 9     conditions described in this Order. When the Action has been terminated, a
10     Receiving Party must comply with the provisions of section 13 below (FINAL
11     DISPOSITION).
12            Protected Material must be stored and maintained by a Receiving Party at a
13     location and in a secure manner that ensures that access is limited to the persons
14     authorized under this Order.
15            7.2 Disclosure of “CONFIDENTIAL” Information or Items. Unless
16     otherwise ordered by the court or permitted in writing by the Designating Party, a
17     Receiving       Party     may     disclose   any      information   or   item   designated
18     “CONFIDENTIAL”                                           only                           to:
19                  (a) the Receiving Party’s Outside Counsel of Record in this Action, as
20     well as employees of said Outside Counsel of Record to whom it is reasonably
21     necessary to disclose the information for this Action;
22                  (b)the officers, directors, and employees (including House Counsel) of the
23            Receiving Party to whom disclosure is reasonably necessary for this Action;
24                  (c) Experts (as defined in this Order) of the Receiving Party to whom
25                  disclosure is reasonably necessary for this Action and who have signed
26                  the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
27
                    (d) the court and its personnel;
28     ________________________________________________________________________________
                                                       8
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 1                  (e) court reporters and their staff;
 2                  (f) professional jury or trial consultants, mock jurors, and Professional
 3      Vendors to whom disclosure is reasonably necessary for this Action and who have
 4      signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 5                  (g) the author or recipient of a document containing the information or
 6      a custodian or other person who otherwise possessed or knew the information;
 7                  (h) during their depositions, witnesses, and attorneys for witnesses, in
 8      the Action to whom disclosure is reasonably necessary provided: (1) the
 9      deposing party requests that the witness sign the form attached as Exhibit A
10      hereto; and (2) they will not be permitted to keep any confidential information
11      unless they sign the “Acknowledgment and Agreement to Be Bound” (Exhibit
12      A), unless otherwise agreed by the Designating Party or ordered by the court.
13      Pages of transcribed deposition testimony or exhibits to depositions that reveal
14      Protected Material may be separately bound by the court reporter and may not
15      be disclosed to anyone except as permitted under this Stipulated Protective
16      Order; and
17                 (i) any mediator or settlement officer, and their supporting personnel,
18     mutually agreed upon by any of the parties engaged in settlement discussions.
19            8.             PROTECTED MATERIAL SUBPOENAED OR ORDERED
20     PRODUCED IN OTHER LITIGATION
21
       If a Party is served with a subpoena or a court order issued in other litigation that
22
       compels disclosure of any information or items designated in this Action as
23
       “CONFIDENTIAL,” that Party must:
24
                   (a)    promptly notify in writing the Designating Party. Such notification
25
       shall include a copy of the subpoena or court order;
26
                   (b)    promptly notify in writing the party who caused the subpoena or
27
       order to issue in the other litigation that some or all of the material covered by the
28     ________________________________________________________________________________
                                                     9
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 1   subpoena or order is subject to this Protective Order. Such notification shall include a
 2   copy of this Stipulated Protective Order; and
 3               (c)         cooperate with respect to all reasonable procedures sought to be
 4   pursued by the Designating Party whose Protected Material may be affected.
 5          If the Designating Party timely seeks a protective order, the Party served with
 6   the subpoena or court order shall not produce any information designated in this
 7   action as “CONFIDENTIAL” before a determination by the court from which the
 8   subpoena or order issued, unless the Party has obtained the Designating Party’s
 9   permission. The Designating Party shall bear the burden and expense of seeking
10   protection in that court of its confidential material and nothing in these provisions
11   should be construed as authorizing or encouraging a Receiving Party in this Action to
12   disobey a lawful directive from another court.
13
14          9.         A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
15   PRODUCED IN THIS LITIGATION
16               (a)         The terms of this Order are applicable to information produced by a
17   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
18   produced by Non-Parties in connection with this litigation is protected by the
19   remedies and relief provided by this Order. Nothing in these provisions should be
20   construed as prohibiting a Non-Party from seeking additional protections.
21
                 (b) In the event that a Party is required, by a valid discovery request, to
22
     produce a Non-Party’s confidential information in its possession, and the Party is
23
     subject to an agreement with the Non-Party not to produce the Non-Party’s
24
     confidential information, then the Party shall:
25
                       (1)      promptly notify in writing the Requesting Party and the Non-
26
     Party that some or all of the information requested is subject to a confidentiality
27
     agreement with a Non-Party;
28   ________________________________________________________________________________
                                                     10
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 1                  (2)      promptly provide the Non-Party with a copy of the Stipulated
 2   Protective Order in this Action, the relevant discovery request(s), and a reasonably
 3   specific description of the information requested; and
 4                  (3)      make the information requested available for inspection by the
 5   Non-Party, if requested.
 6               (c) If the Non-Party fails to seek a protective order from this court within 14
 7   days of receiving the notice and accompanying information, the Receiving Party may
 8   produce the Non-Party’s confidential information responsive to the discovery request.
 9   If the Non-Party timely seeks a protective order, the Receiving Party shall not
10   produce any information in its possession or control that is subject to the
11   confidentiality agreement with the Non-Party before a determination by the court.
12   Absent a court order to the contrary, the Non-Party shall bear the burden and expense
13   of seeking protection in this
14   court of its Protected Material.
15       10.        UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
16          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
17   Protected Material to any person or in any circumstance not authorized under this
18   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
19   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts to
20   retrieve all unauthorized copies of the Protected Material, (c) inform the person or
21   persons to whom unauthorized disclosures were made of all the terms of this Order,
22   and (d) request such person or persons to execute the “Acknowledgment and
23   Agreement to Be Bound” that is attached hereto as Exhibit A.
24         11.      INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
25         PROTECTED MATERIAL
26          When a Producing Party gives notice to Receiving Parties that certain
27   inadvertently produced material is subject to a claim of privilege or other protection,
28   ________________________________________________________________________________
                                                  11
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 1   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 2   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
 3   may be established in an e-discovery order that provides for production without prior
 4   privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
 5   parties reach an agreement on the effect of disclosure of a communication or
 6   information covered by the attorney-client privilege or work product protection, the
 7   parties may incorporate their agreement in the stipulated protective order submitted to
 8   the court.
 9          12.     MISCELLANEOUS
10          12.1 Right to Further Relief. Nothing in this Order abridges the right of any
11   person to seek its modification by the Court in the future.
12          12.2 Right to Assert Other Objections. By stipulating to the entry of this
13   Protective Order no Party waives any right it otherwise would have to object to
14   disclosing or producing any information or item on any ground not addressed in this
15   Stipulated Protective Order. Similarly, no Party waives any right to object on any
16   ground to use in evidence of any of the material covered by this Protective Order.
17          12.3 Filing Protected Material. A Party that seeks to file under seal any
18   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
19   only be filed under seal pursuant to a court order authorizing the sealing of the
20   specific Protected Material at issue. If a Party's request to file Protected Material
21   under seal is denied by the court, then the Receiving Party may file the information in
22   the public record unless otherwise instructed by the court.
23
     13.      FINAL DISPOSITION
24
            After the final disposition of this Action, as defined in paragraph 4, within 60
25
     days of a written request by the Designating Party, each Receiving Party must return
26
     all Protected Material to the Producing Party or destroy such material. As used in this
27
     subdivision, “all Protected Material” includes all copies, abstracts, compilations,
28   ________________________________________________________________________________
                                                12
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 1   summaries, and any other format reproducing or capturing any of the Protected
 2   Material. Whether the Protected Material is returned or destroyed, the Receiving
 3   Party must submit a written certification to the Producing Party (and, if not the same
 4   person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
 5   (by category, where appropriate) all the Protected Material that was returned or
 6   destroyed and (2)affirms that the Receiving Party has not retained any copies,
 7   abstracts, compilations, summaries or any other format reproducing or capturing any
 8   of the Protected Material. Notwithstanding this provision, Counsel are entitled to
 9   retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
10   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
11   reports, attorney work product, and consultant and expert work product, even if such
12   materials contain Protected Material. Any such archival copies that contain or
13   constitute Protected Material remain subject to this Protective Order as set forth in
14   Section 4.
15   14. Any violation of this Order may be punished by any and all appropriate
16   measures including, without limitation, contempt proceedings and/or monetary
17   sanctions.
18   Dated: November 2, 2021                        McNEIL TROPP & BRAUN LLP
19
                                           By:      /s/ Deborah S. Tropp
20                                                  Deborah S. Tropp, Esq.
                                                    Audrey L. Beck, Esq.
21                                                  Attorneys for Defendant,
22                                                  COSTCO WHOLESALE
                                                    CORPORATION
23
24
     Dated: November 2, 2021                        WOODS WILLIFORD, P.C.
25
26                                         By:      /s/ Briny Adam Woods
                                                    Briny Adam Woods, Esq.
27                                                  Attorneys for Plaintiff,
                                                    SHARI CIOTTI
28   ________________________________________________________________________________
                                               13
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 1
                                   SIGNATURE CERTIFICATION
 2
            Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
 3
     Policies and Procedures Manual, I hereby certify that the content of this document is
 4
     acceptable to Briny Adam, Esq., counsel for the Plaintiff, and that I have obtained
 5
     authorization from Briny Adam’s to affix his electronic signature to this document.
 6
 7   Dated: November 2, 2021                        McNEIL TROPP & BRAUN LLP
 8
 9
                                           By:      /s/ Deborah S. Tropp
10                                                  Deborah S. Tropp, Esq.
                                                    Audrey L. Beck, Esq.
11                                                  Attorneys for Defendant
12                                                  COSTCO WHOLESALE
                                                    CORPORATION a Washington
13                                                  Corporation
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28   ________________________________________________________________________________
                                               14
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                                                    CONFIDENTIALITY AGREEMENT
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 1                                     CERTIFICATE OF SERVICE
 2
           I hereby certify on November 2, 2021, I electronically filed the foregoing:
 3   STIPULATION AND PROTECTIVE ORDER- CONFIDENTIALITY
 4   AGREEMENT with the Clerk of the Court for the United States District Court,
     Central District of California by using the Central District CM/ECF system.
 5
 6         Participants in the case who are registered CM/ECF users will be served by
     the USDC-Central District of California CM/ECF system.
 7
 8          I further certify that participants in the case not registered to as CM/ECF
     users have been mailed a true and correct copy of the above described documents by
 9   First Class Mail, postage pre-paid, to the following non-CM/ECF participants:
10
            Briny Adam Woods, Esq.
11          WOODS WILLIFORD, P.C.
            16520 Blake Parkway, Suite 260
12          Irvine, CA 92618
13          I am "readily familiar" with the firm's practice of collection and processing
     correspondence for mailing. Under that practice, it would be deposited with the
14   United States Postal Service on that same day, with postage thereon fully prepaid at
     Irvine, California in the ordinary course of business. I am aware that on motion of
15   the party served, service is presumed invalid if postal cancellation date or postage
     meter date is more than one day after date of deposit for mailing an affidavit.
16
17         FEDERAL:I declare under penalty of perjury in accordance with 28 U.S.C.
     Section 1746 that the foregoing is true and correct.
18
19          Executed on November 2, 2021, at Irvine, California.
20
                                                            /s/ Deborah S. Tropp
21                                                          DEBORAH S. Tropp
22
23
24
25
26
27
28   ________________________________________________________________________________
                                                 15
     Case No.: 8:21-cv-01392-JVS-KES                  STIPULATION AND PROTECTIVE ORDER-
                                                      CONFIDENTIALITY AGREEMENT
 Case 8:21-cv-01392-JVS-KES Document 14 Filed 11/03/21 Page 16 of 17 Page ID #:131




 1
                                               EXHIBIT A
 2
                 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3

 4
     I,   _____________________________                [print   or     type      full   name],   of
 5
     ____________________ [print or type full address], declare under penalty of perjury
 6
     that I have read in its entirety and understand the Stipulated Protective Order that was
 7
     issued by the United States District Court for the Central District of California on [date]
 8
     in the case of ___________________ [insert formal name of the case and the number
 9
     and initials assigned to it by the court]. I agree to comply with and to be bound by all
10
     the terms of this Stipulate Protective Order and I understand and acknowledge that
11
     failure to so comply could expose me to sanctions and punishment in the nature of
12
     contempt. I solemnly promise that I will not disclose in any manner any information or
13
     item that is subject to this Stipulated Protective Order to any person or entity except in
14
     strict compliance with the provisions of this Order.
15
     I further agree to submit to the jurisdiction of the United States District Court for the
16
     Central District of California for the purpose of enforcing the terms of this Stipulated
17
     Protective Order, even if such enforcement proceedings occur after termination of this
18
     action. I hereby appoint ____________________________ [print or type full name] of
19
     ______________________________________[print or type full address and telephone
20
     number] as my California agent for service of process in connection with this action or
21
     any proceedings related to enforcement of this Stipulated Protective Order.
22
     Date: _____________________________________
23
     City and State where sworn and signed: ___________________________________
24

25
     Printed name: ________________________________
26

27
     Signature: ____________________________________
28
      ________________________________________________________________________________
                                                   1
     CASE NO. CASE NO. 8:21-cv-01392-JVS-KES                         EXHIBIT A
 Case 8:21-cv-01392-JVS-KES Document 14 Filed 11/03/21 Page 17 of 17 Page ID #:132




 1
 2
 3
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 7
 8                            UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
 9
                                   SOUTHERN DIVISION
10
11   SHARI CIOTTI,                              CASE NO. 8:21-cv-01392-JVS-KES
12
                           Plaintiff,           [PROPOSED] ORDER GRANTING
13                                              STIPULATION AND PROTECTIVE
14          vs.                                 ORDER
15   COSTCO WHOLESALE                           [Filed concurrently with Stipulation and
     CORPORATION, A CALIFORNIA                  Protective Order-Confidentiality
16
     CORPORATION and DOES 1 TO 20,              Agreement]
17   inclusive,
18
                           Defendants,
19
20
21
22
            The Court, having reviewed the moving papers orders as follows:
23
            1) Good Cause Appearing, the Court hereby approves this Stipulation and
24
                  Protective Order.
25
26    IT IS SO ORDERED.
      Dated: _______________
              11/3/2021
27                                              UNITED STATES MAGISTRATE JUDGE
28    ________________________________________________________________________________
                                                1
     CASE NO. 8:21-cv-01392-JVS-KES                 [PROPOSED] ORDER GRANTING STIPULATION
                                                    AND PROTECTIVE ORDER
